Case 1:19-mc-10419-BLW Document 1 Filed 04/11/19 Page 1 of 2

Bradley D. Sharp, Receiver U__S

Development Specialists, lnc. COURTS

333 S. Grand Ave., Suite 4100

Los Angeles, CA 90071 Hc APR 1 l 2019

Tel.: (213) 617-2717 VdTH:H§g`Tme
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Fax: (213)617-2718 C KENYo oN
Email: bsharp@DSIconSulting.com LEHK- D'STH|“&T OF |DAHO

Receiver
UNITED STATES DISTRICT COURT

FOR THE`, DISTRICT OF IDAHO

 

SECURITIES AND EXCHANGE COMMISSION,

maria Misc at mile 101 {\/1@ 1049 ami

vs- § NoTICE oF RECEIVERSHIP
1 4
DIRECT LENDING lNVESTMENTS, LLC, : §§l;)SlI{J€ggE'-[S`(':' §80[1]{§1‘§]1‘§ 75
D f d t z ISSUANCE oF A
6 en a“~ 1 MISCELLANEOUS cAsE
- NUMBER

 

PLEASE TAKE NOTICE THAT pursuant to 28 U.S.C. § 754, Bradley D. Sharp, in his
capacity as Receiver for Direct Lending Investments, LLC; Direct Lending Income Fund, L.P.;
Direct Lending lncome Feeder Fund, Ltd.; DLI Capital, lnc.; DLI Lending Agent, LLC; and DLI
Assets Bravo, LLC and their successors, subsidiaries and affiliated entities, appointed in the
matter of Securifies and Exchange Commission v. Direct Lending Investments, LLC, United
States District Court for the Central District of California, Case No. 2:19-cv-02188
(“Receivership Action”), hereby files the complaint and the appointment order in the
Receivership Action in this district in which assets of the receivership estate may be located.
The Receiver is requesting that a miscellaneous civil case number be issued based on the filing
of this Notice in this district. A certified copy cf the complaint in the Receivership Action is
attached hereto as Exhibit “l ,” and a certified copy of the Preliminary Injuncticn Order and
Order Appointing Permanent Receiver in the Receivership Action is attached hereto as Exhibit

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This filing is made pursuant to 28 U.S.C. §754, which states in pertinent part:

Such receiver shall, within ten days after the entry of his order of
appointment, file copies of the complaint and such order of
appointment in the district court for each district in which property
is located. The failure to file such copies in any district shall divest
the receiver of jurisdiction and control over all such property in
that district.

Dated: April 8, 2019 W

BRMI:EY D. SHARP
Receiver

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